                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

SASHADA MAKTHEPHARAK,
    Plaintiff,

vs.

LAURA KELLY, Governor of Kansas;
JEFF ZMUDA, Kansas Secretary of
                                               Case No. 2:23-cv-02121-DDC-RES
Corrections; JONATHAN OGLETREE,
Chair, Kansas Prisoner Review Board;
JEANNIE WARK, Member, Kansas
Prisoner Review Board; and MARK
KEATING, Member, Kansas Prisoner
Review Board.
      Defendants.

                  FIRST AMENDED CIVIL COMPLAINT
              FOR DECLARATORY AND INJUNCTIVE RELIEF
      Plaintiff Sashada Makthepharak alleges the following for his cause of action

against Defendants:

                             Jurisdiction and Venue

      1.     Plaintiff brings these claims under 42 U.S.C. § 1983. This Court has

subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343, as well as under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq. Additionally, it has
supplemental jurisdiction over the state law claims asserted in this complaint under

28 U.S.C. § 1367.

      2.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because all

acts and omissions giving rise to these claims occurred or are to be performed in the

State of Kansas.

      3.     This Court has personal jurisdiction over all Defendants because all

Defendants are residents of the State of Kansas.




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                                     The Parties

         4.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         5.   Plaintiff Sashada Makthepharak is an inmate in the custody of the

Kansas Department of Corrections (“DOC”), DOC ID #73697, confined in the

Lansing Correctional Facility located at 301 East Kansas Street, Lansing, Kansas

66043. Plaintiff was born December 14, 1984. In October 2001, when Plaintiff was

a 16-year-old juvenile, a jury in the District Court of Sedgwick County, Kansas

convicted him of first-degree murder under a felony-murder theory in violation of

K.S.A. § 3401(b) (2001), aggravated burglary in violation of K.S.A. § 21-3716, and

criminal possession of a firearm in violation of K.S.A. § 21-4204(a)(3). The offenses

occurred in May 2001, when Plaintiff was a 16-year-old juvenile, and a juvenile

court referred the case to the district court. In December 2001, Plaintiff was

sentenced under K.S.A. §§ 21-6806(c) and 22-3717(a)(2) (2001) to life in prison

without eligibility for parole for 20 years for the felony murder count, the statutorily

mandatory sentence for that offense. The court sentenced him to 64 months in

prison on the other counts, to be served consecutively.

         6.   Defendant Laura Kelly is the Governor of the State of Kansas and in
her official capacity was working under color of state law when the allegations in

this complaint arose. Governor Kelly is a resident of the State of Kansas. In her

capacity as Governor, Governor Kelly appoints the Kansas Secretary of Corrections,

subject to confirmation by the Kansas Senate, who serves at her pleasure. K.S.A. §

75-5205. In her capacity as Governor, Governor Kelly decides whether any

individual will receive a grant of executive clemency. Governor Kelly is sued in her

official capacity.

         7.   Defendant Jeff Zmuda is the Kansas Secretary of Corrections and in
his official capacity was working under color of state law when the allegations in


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this complaint arose. Mr. Zmuda is a resident of the State of Kansas. Mr. Zmuda

was appointed by Governor Kelly in 2019 and confirmed by the Senate in 2020. Mr.

Zmuda serves at Governor Kelly’s pleasure. Mr. Zmuda is sued in his official

capacity. In his capacity as Secretary of Corrections, Mr. Zmuda is the chief

executive of the DOC, and is responsible, among other things, for:

      a. managing the state-operated prisons in which prisoners serving life

         sentences are housed, and for the education, training, vocational

         education, rehabilitation and recreation of prisoners under the jurisdiction

         of the DOC, as well as the transfer of prisoners from one penal institution

         to another, including how individuals are assigned to any particular

         security status or facility;

      b. appointing the Prisoner Review Board consisting of three members who

         are existing employees of the DOC and serve at his pleasure, and for

         administering the Prisoner Review Board under his supervision, a

         majority vote of which is necessary to grant parole to a prisoner serving a

         life sentence, K.S.A. § 75-52152;

      c. designating the chairperson and vice-chairperson of the Prisoner Review

         Board, K.S.A. § 22-3709;
      d. putting together agreements with inmates specifying those educational,

         vocational, mental health or other programs which he determines the

         inmate must satisfactorily complete in order to be prepared for release on

         parole supervision, K.S.A. § 75-5210a(a), completion of which is a

         requirement for the Prisoner Review Board to grant an inmate parole,

         K.S.A. § 22-3713(g); and

      e. providing the Prisoner Review Board with necessary personnel and

         accounting services, K.S.A. § 22-3713(b).




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      8.     Defendant Jonathan Ogletree is the Chair of the Prisoner Review

Board and one of three members of the Prisoner Review Board, and in his official

capacity was working under color of state law when the allegations in this

complaint arose. Mr. Ogletree is a resident of the State of Kansas. Mr. Ogletree

has been an employee of the Kansas DOC since 1989, was appointed to the Prisoner

Review Board by Mr. Zmuda’s predecessor and designated the Prisoner Review

Board’s chair, and serves at Mr. Zmuda’s pleasure. In his capacity as Chair of the

Prisoner Review Board, Mr. Ogletree is responsible for organizing and

administering the activities of the Prisoner Review Board, which requires a

majority vote to grant parole to a prisoner serving a life sentence. K.S.A. § 22-3709.

Mr. Ogletree is sued in his official capacity.

      9.     Defendant Jeannie Wark is one of three members of the Prisoner

Review Board, and in her official capacity was working under color of state law

when the allegations in this complaint arose. Ms. Wark is a resident of the State of

Kansas. Ms. Wark has been an employee of the Kansas DOC since 1991, was

appointed to the Prisoner Review Board by Mr. Zmuda’s predecessor, and serves at

Mr. Zmuda’s pleasure. Ms. Wark is sued in her official capacity.

      10.    Defendant Mark Keating is one of three members of the Prisoner
Review Board, and in his official capacity was working under color of state law

when the allegations in this complaint arose. Mr. Keaing is a resident of the State

of Kansas. Mr. Keating has been an employee of the Kansas DOC since 1999, was

appointed to the Prisoner Review Board by Mr. Zmuda’s predecessor, and serves at

Mr. Zmuda’s pleasure. Mr. Keating is sued in his official capacity.




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                                      Introduction

         11.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         12.   This challenge is brought by Mr. Makthepharak, an inmate who was

sentenced to a life sentence in Kansas state court for acts committed when he was a

juvenile, without appropriate consideration of his youth and its attendant

characteristics. Mr. Makthepharak has been, and continues to be, denied a

meaningful and realistic opportunity for release, in violation of U.S. Const. Amend.

VIII and Section 9 of the Kansas Bill of Rights.

         13.   In a series of decisions, the U.S. Supreme Court has forbidden as

unconstitutional imprisonment for life without parole (“LWOP”), or its equivalent,

for all juveniles but the “rare juvenile whose crime reflects irreparable corruption,”

and declared this substantive constitutional rule retroactive. Montgomery v.

Louisiana, 577 U.S. 190, 208 (2016) (quoting Miller v. Alabama, 567 U.S. 460, 474,

479-80 (2012)); see also Graham v. Florida, 560 U.S. 48, 82 (2010).

         14.   In these decisions, the Supreme Court held young people are

constitutionally different than adults for sentencing purposes due to three

distinctive attributes that mitigate their culpability: transient immaturity,
vulnerability to external forces, and character traits that are still being formed.

Montgomery, 577 U.S. at 207 (quoting Miller, 567 U.S. at 471); see also Graham,

560 U.S. at 68; Roper v. Simmons, 543 U.S. 551, 569-570 (2005).

         15.   The “penological justifications for life without parole collapse in light of

‘the distinctive attributes of youth,’” rendering LWOP an unconstitutionally

“disproportionate” punishment as to “all but the rarest of juvenile offenders, whose

crimes reflect permanent incorrigibility.” Montgomery, 577 U.S. at 208-09.

         16.   Accordingly, the Supreme Court has forbidden as unconstitutional
LWOP sentences – or their equivalent – for youth who have committed non-


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homicide offenses (Graham), and for any youth whose homicide crime reflects

“unfortunate yet transient immaturity.” Montgomery, 577 U.S. at 208 (quoting

Miller, 567 U.S. at 479). These decisions establish that only in the “rarest” cases of

“irreparable corruption” will such a penalty be appropriate. So, by definition,

criminal sentencing schemes that mandate life fail to allow adequate consideration

of youth to make this assessment. Montgomery, 577 U.S. at 207-08; Miller, 567 U.S.

at 483.

      17.     The Supreme Court defines “life without parole” as a sentence of life

that denies an individual a “meaningful” and “realistic” opportunity for release

upon demonstrated maturity and rehabilitation. Graham, 560 U.S. at 75, 82;

Miller, 567 U.S. at 479. It expressly has rejected executive clemency as affording

that opportunity. Graham, 560 U.S. at 70 (citing Solem v. Helm, 463 U.S. 277, 300-

01 (1983)).

      18.     Together, these decisions establish that the Eight Amendment forbids

a statutory scheme that (a) imposes life sentences upon minors without appropriate

consideration of their distinctive attributes as youth, and then (b) fails to provide

them a meaningful and realistic opportunity for release. The law of Kansas fails

this test on both counts.
      19.     In Kansas, many individuals, including Mr. Makthepharak, are

serving life sentences for offenses committed as juveniles. Mr. Makthepharak was

sentenced under Kansas’s mandatory sentencing scheme, which requires judges to

impose life sentences in first-degree felony murder cases without adequate

consideration of youth to determine whether an individual is among the rare minors

whose offense reflects “irreparable corruption.” Mr. Makthepharak is serving a life

sentence that in theory is parole eligible.

      20.     Mr. Makthepharak now has served more than 20 years on his life
sentence. Yet, no matter the level of maturity or rehabilitation or lack of it that he


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may demonstrate, he is and will be denied parole principally due to the fact that he

denies responsibility for the offense in the first place, which occurred when he was a

juvenile.

      21.    As a matter of Kansas law, the authority to parole any person

sentenced to life lies first in the hands of the Secretary of Corrections, an appointee

of the Governor, who must make an agreement and plan for the prisoner to meet in

order to be paroled, and then exclusively the Prisoner Review Board, who serves at

the Secretary of Corrections’ pleasure and also is responsible for recommending

pardons and other clemency to the Governor. But rather than affording Mr.

Makthepharak a meaningful and realistic opportunity for release, Kansas’s parole

scheme functions as a system of ad hoc clemency in which grants of release are

exceptionally rare, are governed by no substantive, enforceable standards, and are

unreviewable. Furthermore, Kansas and the defendants named in this complaint

lack policies that protect the constitutional rights of Mr. Makthepharak and

similarly situated juveniles sentenced to life, to a meaningful and realistic

opportunity for release, instead relying on risk assessment tools to make

recommendations about release that discriminate against those who were minors at

the time of offense and prohibit youth from progressing through the Kansas DOC
system to demonstrate their rehabilitation.

      22.    As a result of these practices, Mr. Makthepharak and others similarly

situated who have matured, reformed, and demonstrated rehabilitation, and who

the Supreme Court says deserve an opportunity for a second chance to live outside

prison walls, are far more likely to die in prison in Kansas than ever receive a

second chance. Mr. Makthepharak’s sentence has been converted into a de facto

LWOP sentence by virtue of the denial of a meaningful and realistic opportunity for

release.




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       23.    In this respect, the Kansas parole system violates the Kansas and

United States Constitutions as applied to individuals like Mr. Makthepharak

serving life sentences for offenses committed as youth, and subjects them to

unconstitutionally disproportionate punishment.

       24.    Mr. Makthepharak is an individual who was sentenced to life

imprisonment for an offense committed as a juvenile without adequate

consideration of his youth, who has been incarcerated for decades, who has matured

and demonstrated his rehabilitation during his incarceration through his behavior

and institutional accomplishments, but who is nonetheless denied any fair

opportunity for release by the defendants.

       25.    Defendants are state officials responsible for the Kansas policies and

practices that deny Mr. Makthepharak, as well as others similarly situated, the

requisite meaningful and realistic opportunity for release, thereby converting his

life sentence to a de facto LWOP sentence without regard for his youth.

       26.    This complaint seeks declaratory and injunctive relief: (1) to declare

unconstitutional Kansas’s parole process to the extent that it fails to provide

adequate consideration of youth status, (2) to remedy Kansas’s unconstitutional

failure to provide a meaningful and realistic opportunity for release to Mr.
Makthepharak, as well as others similarly situated, and (3) to provide relief for Mr.

Makthepharak, who received neither adequate consideration of his youth at

sentencing nor any meaningful and realistic opportunity for release over the

decades since, resulting in grossly disproportionate punishment in violation of the

Eighth Amendment to the Constitution of the United States and § 9 of the Kansas

Bill of Rights.




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                                 Factual Allegations

I.       Youth have diminished culpability and greater prospects for reform
         than adults and the state cannot, except in the rarest of cases,
         condemn young offenders to die in prison without a meaningful and
         realistic opportunity for release.

     A. The Supreme Court has confirmed youth are different than adults in
        ways that diminish the penological justifications for the harshest
        punishments.
         27.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         28.   A series of Supreme Court decisions have established that “children

are constitutionally different from adults for purposes of sentencing.” Montgomery,

577 U.S. at 206 (quoting Miller, 567 U.S. at 471 (citing Roper, 543 U.S. at 569-70;

Graham, 560 U.S. at 68 (2015))).

         29.   “These differences result from children’s diminished culpability and

greater prospects for reform, and are apparent in three primary ways.” Id. (internal

quotation marks and citations omitted).

         30.   “First, children have a lack of maturity and an underdeveloped sense
of responsibility, leading to recklessness, impulsivity, and heedless risk-taking.” Id.

(internal quotation marks and citations omitted).

         31.   “Second, children are more vulnerable to negative influences and

outside pressures, including from their family and peers; they have limited control

over their own environment and lack the ability to extricate themselves from

horrific, crime-producing settings.” Id. (internal quotation marks and citations

omitted).




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      32.     “And third, a child’s character is not as well-formed as an adult’s; his

traits are less fixed and his actions less likely to be evidence of irretrievable

depravity.” Id. (internal quotation marks and citations omitted).

      33.    “The Eighth Amendment’s prohibition of cruel and unusual

punishment guarantees individuals the right not to be subjected to excessive

sanctions. That right ... flows from the basic precept of justice that punishment for

crime should be graduated and proportioned to both the offender and the offense.”

Miller, 567 U.S. at 469 (internal quotation marks and citations omitted).

      34.    A LWOP sentence, or its functional equivalent, “‘means denial of hope;

it means that good behavior and character improvement are immaterial; it means

that whatever the future might hold in store for the mind and spirit of [the convict],

he will remain in prison for the rest of his days.’” Graham, 560 U.S. at 70 (quoting

Naovarath v. State, 779 P.2d 944 (Nev. 1989)).

      35.    “[T]he penological justifications for life without parole collapse in light

of ‘the distinctive attributes of youth.’” Montgomery, 577 U.S. at 208 (quoting

Miller, 567 U.S. at 472).

      36.    “Because retribution ‘relates to an offender’s blameworthiness, the

case for retribution is not as strong with a minor as with an adult.’” Id. at 207
(quoting Miller, 567 U.S. at 472).

      37.    “The deterrence rationale likewise does not suffice, since ‘the same

characteristics that render juveniles less culpable than adults-their immaturity,

recklessness, and impetuosity-make them less likely to consider potential

punishment.’” Id. (quoting Miller, 567 U.S. at 472).

      38.    “The need for incapacitation is lessened, too, because ordinary

adolescent development diminishes the likelihood that a juvenile offender ‘forever

will be a danger to society.’” Id. (quoting Miller, 567 U.S. at 472).




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         39.    “Rehabilitation cannot justify the sentence, as life without parole

‘foreswears altogether the rehabilitative ideal.’” Id. at 207-08 (quoting Miller, 567

U.S. at 473).

         40.    Therefore, “the characteristics of youth, and the way they weaken

rationales for punishment, can render a life-without-parole sentence

disproportionate” to juvenile offenders’ culpability for crimes they commit, which

violates the Eighth Amendment’s prohibition against grossly excessive punishment.

Miller, 567 U.S. at 472-77.

   B. As a result of these differences, the Supreme Court has forbidden
      LWOP as unconstitutionally disproportionate punishment for all but
      the rarest of youth who demonstrate “irreparable corruption.”
         41.    Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         42.    In 2010, the Supreme Court held LWOP sentences for juvenile

offenders in nonhomicide cases are unconstitutionally disproportionate

punishments that violate the Eight Amendment. Graham, 560 U.S. at 82.

         43.    In 2012, the Supreme Court held LWOP sentences for juvenile

offenders in homicide cases are an unconstitutionally disproportionate punishment

that violates the Eighth Amendment. Miller, 467 U.S. at 472-77. Rather, the
Supreme Court required sentencing courts to “consider a child’s ‘diminished

culpability and heightened capacity for change’ before condemning him or her to die

in prison[,]” and to “take into account ‘how children are different, and how those

differences counsel against irrevocably sentencing them to a lifetime in prison.’”

Montgomery, 577 U.S. at 195, 208 (quoting Miller, 467 U.S. at 479-80).

         44.    “Because Miller determined that sentencing a child to life without

parole is excessive for all but the rarest juvenile offender whose crime reflects
irreparable corruption, it rendered life without parole an unconstitutional penalty



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for a class of defendants because of their status-that is, juvenile offenders whose

crimes reflect the transient immaturity of youth.” Id. at 208 (internal quotation

marks and citations omitted).

         45.   In 2016, the Supreme Court held Miller announced a substantive rule

of constitutional law and therefore was retroactive. Id. at 208-09.

         46.   “[A] lifetime in prison is a disproportionate sentence for all but the

rarest of juveniles, those whose crimes reflect ‘irreparable corruption.’” Id. at 195

(quoting Miller, 567 U.S. at 479-80 (quoting Roper, 543 U.S. at 573).

         47.   “Miller made clear that ‘appropriate occasions for sentencing juveniles

to this harshest possible penalty will be uncommon.’” Id. at 208 (quoting Miller,

567 U.S. at 479).

         48.   “Miller’s conclusion that the sentence of life without parole is

disproportionate for the vast majority of juvenile offenders raises a grave risk that

many are being held in violation of the Constitution.” Id. at 212.

   C. For those who are not “irreparably corrupt,” there must be a
      meaningful and realistic opportunity to obtain release, and Kansas’s
      parole system fails to meet this standard.
         49.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.
         50.   The Eighth Amendment forbids for all but the rarest juveniles a

“sentence [that] guarantees he will die in prison, without any meaningful

opportunity to obtain release, no matter what he might do to demonstrate that the

bad acts he committed as a teenager are not representative of his true character,

even if he spends the next half century attempting to atone for his crimes and learn

from his mistakes.” Graham, 560 U.S. at 79.

         51.   To avoid this unconstitutionally disproportionate punishment for
juveniles, a state must provide “some meaningful opportunity to obtain release



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based on demonstrated maturity and rehabilitation.’” Miller, 567 U.S. at 479

(quoting Graham, 560 U.S. at 75).

      52.    “The ‘remote possibility’ of [executive clemency] does not mitigate the

harshness of the [LWOP] sentence.” Graham, 560 U.S. at 70 (citing Solem v. Helm,

463 U.S. 277, 300-01 (1983)).

      53.    In Solem, the Supreme Court explained the differences between

clemency and parole: “As a matter of law, parole and commutation are different

concepts, despite some surface similarities. Parole is a regular part of the

rehabilitative process. Assuming good behavior, it is the normal expectation in the

vast majority of cases. The law generally specifies when a prisoner will be eligible to

be considered for parole, and details the standards and procedures applicable at

that time. Thus it is possible to predict, at least to some extent, when parole might

be granted. Commutation, on the other hand, is an ad hoc exercise of executive

clemency. A Governor may commute a sentence at any time for any reason without

reference to any standards.” (internal citations omitted; emphasis added). Id.

      54.    “Allowing [juvenile] offenders to be considered for parole ensures that

juveniles whose crimes reflected only transient immaturity-and who have since

matured will not be forced to serve a disproportionate sentence in violation of the
Eighth Amendment.” Montgomery, 577 U.S. at 212.

      55.    Mr. Makthepharak “must be given the opportunity to show [his] crime

did not reflect irreparable corruption; and, if it did not, [his] hope for some years of

life outside prison walls must be restored.” Id. at 213.

      56.    “Maturity can lead to that considered reflection which is the

foundation for remorse, renewal, and rehabilitation. A young person who knows

that he or she has no [expectation other than to die in] prison … has little incentive

to become a responsible individual.” Graham, 560 U.S. at 79.




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         57.   “In some prisons, moreover, the system itself becomes complicit in the

lack of development. … [I]t is the policy in some prisons to withhold counseling,

education, and rehabilitation programs for those who are ineligible for parole

consideration. A categorical rule against [LWOP] for juvenile nonhomicide

offenders avoids the perverse consequence in which the lack of maturity that led to

an offender’s crime is reinforced by the prison term.” Id. (citation omitted).

         58.   Accordingly, the Tenth Circuit has recognized that when a juvenile is

sentenced to a life term with the theoretical possibility of some form of parole, if

that possibility does not actually provide a meaningful opportunity to demonstrate

maturity and rehabilitation, it violates the Eighth Amendment. Rainer v. Hansen,

952 F.3d 1203, 1210 (10th Cir. 2020). In 2022, the Tenth Circuit reversed the

dismissal of a 42 U.S.C. § 1983 petition for declaratory and injunctive relief

challenging such a sentence in Oklahoma on those grounds, that Oklahoma’s

discretionary parole system for juveniles sentenced to life in prison is insufficient to

provide that meaningful opportunity. Thomas v. Stitt, No. 21-6011, 2022 WL

289661 (10th Cir. Feb. 1, 2022).

II. Kansas’s policies and practices subject Mr. Makthepharak to
    unconstitutionally disproportionate punishment by denying a
    meaningful and realistic opportunity for release regardless of
    individual merit.

   A. Overview of how Kansas violates Mr. Makthepharak’s constitutional
      rights.
         59.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         60.   Kansas’s current practices effectively guarantee that Mr.

Makthepharak and those similarly situated, whose sentences encompass a

theoretical opportunity for parole, will die in prison no matter how thoroughly he
has been reformed, all without adequate consideration of his youth status.


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      61.    Currently, and at the time of Mr. Makthepharak’s conviction, Kansas

law permits life sentences for youth in certain non-homicide cases, see, e.g., K.S.A. §

21-6627, and mandates life sentences in all cases of murder. See K.S.A. § 21-

6806(c). In practice, Kansas denies those sentenced under these law any

meaningful opportunity for release on parole regardless of demonstrated

rehabilitation. This violates the rights of Mr. Makthepharak under the Eighth

Amendment and Section 9 of the Kansas Bill of Rights.

      62.    Although Kansas law describes life sentences as “parole-eligible,” in

practice Mr. Makthepharak will never be paroled, regardless of his demonstrated

maturity, rehabilitation, or other individual aspects of his record.

      63.    Kansas’s parole scheme for people like Mr. Makthepharak sentenced to

life in prison for murders as juveniles is a system of parole in name only. In all

significant respects, it is an ad hoc system of executive clemency in which

opportunities for release are all but non-existent. It fails to afford Mr.

Makthepharak and those similarly situated to a meaningful and realistic

opportunity for release upon demonstrated maturity or rehabilitation.

      64.    As a matter of law, the authority to parole Mr. Makthepharak is

exclusively in the hands of the Secretary of Corrections, a gubernatorial appointee,
and three of his appointees, without any transparency, constraints, standards, or

mechanisms for review and without regard for an individual’s juvenile status at

time of offense.

      65.    Moreover, the state’s parole policies and practices make no distinction

between youth and adults, fail to adequately consider the attributes of youth, and

rely on risk assessment tools that penalize those who were young at the time of

offense, all while fundamentally impeding individuals from vindicating their rights

to a meaningful opportunity for release.




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         66.   By categorically barring those sentenced to life for homicides, including

juveniles, from progression to security classifications within the DOC below

medium-high, Kansas denies opportunities to progress through the DOC system to

demonstrate their maturity and rehabilitation, in violation of the Eighth

Amendment and § 9 of the Kansas Bill of Rights.

         67.   By operating a scheme in which the only opportunity for release is ad

hoc and unreviewable executive action, devoid of standards, by which it is nearly

impossible to actually obtain release regardless of individual merit, Kansas’s

policies and practices convert life sentences into de facto LWOP sentences. As

applied to Mr. Makthepharak, as well as those similarly situated, this subjects him

to unconstitutionally disproportionate punishment in violation of the Eighth

Amendment and § 9 of the Kansas Bill of Rights.

   B. Kansas mandates life (i.e., “imprisonment for life”) sentences for
      juveniles whose crimes do not reflect irreparable corruption.
         68.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         69.   Mr. Makthepharak is serving a life sentence in Kansas that purports

to be parole-eligible.
         70.   Just like Mr. Makthepharak, many other juveniles in Kansas were

sentenced under a mandatory sentencing scheme that mandates life sentences in

any case of murder regardless of a person’s juvenile status. See K.S.A. § 21-6806(c).

         71.   As a matter of law, both now and at the time of Mr. Makthepharak’s

conviction, a conviction for murder and subsequent punishment of life

imprisonment means “imprisonment for life and shall not be subject to statutory

provisions for suspended sentence, community service or probation,” as prescribed

in K.S.A. § 21-6806(c). This ensures Mr. Makthepharak will spend the remainder of
his natural life in the custody of the DOC. Under Kansas law, “a life sentence


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mean[s] [defendant] could spend ‘the rest of [his] natural life’ in prison.” State v.

Denmark-Wagner, 292 Kan. 870, 880, 258 P.3d 960 (2011).

      72.    At the same time, and also as a matter of law, there is no protectable

liberty interest in parole in Kansas. Gilmore v. Kansas Parole Board, 243 Kan. 173,

180, 756 P.2d 410 (1988). Rather, under Kansas law, because parole is entirely

discretionary, “the Kansas parole statute does not give rise to a liberty interest

when the matter before the Board is the granting or denial of parole to one in

custody.” Id.

      73.    There is no minimum age for being charged with murder or receiving a

mandatory life sentence in Kansas. Additionally, Kansas law gives judges absolute

discretion in deciding whether or not sentences are to be served concurrently or

consecutively with any other sentence. See K.S.A. § 21-6606(a).

      74.    At the time of Mr. Makthepharak’s conviction and his sentencing to life

imprisonment, an offender’s youth generally was only considered in passing in life-

sentence cases, if ever considered at all, as the life sentence was mandatory and

considered to be for the duration of the defendant’s natural life.

      75.    At the time Mr. Makthepharak was convicted and sentenced to be in

the custody of the DOC for the duration of his natural life, the sentencing court did
not consider his youth status or attendant characteristics before imposing that

sentence. Moreover, without a liberty interest in meaningful consideration for

parole, in which no due process attaches, Mr. Makthepharak continues to be

subjected to cruel and unusual punishment under Kansas’s mandatory sentencing

scheme.




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   C. Kansas’s parole scheme operates as a system of clemency that fails to
      afford Mr. Makthepharak and those similarly situated a meaningful
      and realistic opportunity for release upon demonstrated maturity
      and rehabilitation.

         1. The Secretary of Corrections’ authority is exclusive and devoid of
            standards.
         76.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         77.   In Kansas, by statute, parole for an indeterminate or off-grid sentence,

such as a life sentence that Mr. Makthepharak has, is effectively solely at the

discretion of the Secretary of Corrections. See K.S.A. §§ 22-3717(g) and 75-5210a.

         78.   Within “a reasonable time after a defendant is committed to the

custody of the secretary of corrections,” solely at the discretion of the Secretary of

Corrections, “the secretary shall enter into a written agreement with the inmate

specifying those educational, vocational, mental health or other programs which the

secretary determines the inmate must satisfactorily complete in order to be

prepared for release on parole supervision.” § 75-5210a.

         79.   Whether the inmate has satisfied this is further entirely at the
Secretary of Corrections’ discretion, who may revise the agreement at any time

without any standards or oversight: “The agreement shall be conditioned on the

inmate’s satisfactory conduct, employment and attitude while incarcerated. If the

secretary determines that the inmate’s conduct, employment, attitude or needs

require modifications or additions to those programs which are set forth in the

agreement, the secretary shall revise the requirements. The secretary shall agree

that, when the inmate satisfactorily completes the programs required by the

agreement, or any revision thereof, the secretary shall report that fact in writing to
the prisoner review board. If the inmate becomes eligible for parole before


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satisfactorily completing such programs, the secretary shall report in writing to the

board the programs which are not completed.” Id.

      80.      The Secretary of Corrections appoints the Prisoner Review Board and

names its Chair and Vice-Chair, all of whom serve solely at the discretionary

pleasure of the Secretary. K.S.A. §§ 22-3709, 75-5205, and 75-52152.

      81.      Only if “the secretary of corrections has reported to the board in

writing that the inmate has satisfactorily completed the programs required by any

agreement entered under K.S.A. 75-5210a, and amendments thereto, or any

revision of such agreement,” may the Prisoner Review Board proceed to consider the

parole further. K.S.A. § 22-3717(g)(2).

      82.      There are no substantive statutory or regulatory factors guiding,

limiting, or in any way constraining the Secretary of Corrections’ decision-making

regarding the content of the agreement with the inmate, whether the inmate has

satisfied it, or whether it needs revision.

      83.      Nothing requires the Secretary of Corrections to consider an

individual’s youth at the time of offense in exercising his or her discretion for

parole, and all evidence suggests youth is never a fact considered, given that Mr.

Makthepharak was denied parole solely because he did not take responsibility for
the offense.

      84.      The Secretary of Corrections is under no obligation to announce the

bases upon which he fashions the content of the agreement with the inmate or

decides whether the inmate has satisfied it or whether it needs modification, and

neither the Secretary of Corrections nor any other department has promulgated or

issued any written, publicly available guidance about any such criteria. Even if a

Secretary of Corrections did announce such criteria, he or she would not be bound

by them and would be under no obligation to adhere to them, and could change
them at any time without notice or explanation.


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         85.   Notably, under the unambiguous text of Kansas law, the Secretary of

Corrections possesses unfettered discretion to determine an inmate’s agreement has

not been satisfied or needs further modification for any reason whatsoever or for no

reason at all. Additionally, there is no process for appeal or review of the

Secretary’s decision by anyone in either case.

         86.   This statutory framework has remained largely unchanged since at

least 1993.

         2. Prisoner Review Board policies and practices, combined with the
            scheme of executive clemency, deny Mr. Makthepharak and those
            similarly situated a meaningful and realistic opportunity for
            release.
         87.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         88.   The policies and practices of the Prisoner Review Board exacerbate

Kansas’s unconstitutional parole scheme, which functions as a system of executive

clemency rather than parole with respect to those who were juveniles at the time of

the commission of their crimes, including Mr. Makthepharak.

         89.   The Prisoner Review Board’s policies and practices make no distinction

between youth and adults, fail to consider adequately the attributes of youth, and in
some respects disproportionately penalize those who were youth at the time of the

offense, all while fundamentally impeding individuals from vindicating their right

to a meaningful and realistic opportunity for release.

         90.   The Prisoner Review Board’s policies make no distinction between

those whose offenses occurred as youth and those whose offenses occurred as adults.

         91.   Even if the Secretary of Corrections reports to the Prisoner Review

Board that a juvenile sentenced to life has satisfied his agreement, none of the
further statutory factors to be considered in determining whether an individual is



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suitable for parole includes consideration of youth at the time of the offense. See

K.S.A. § 22-3717(g)(2) and (h)(2). Upon information and belief, Mr. Makthepharak

avers that Prisoner Review Board members receive no training pertaining to

adolescent psychological development or any other training that would assist

members in contextualizing offenses committed by youth in accordance with the

requirements of Roper, Graham, Miller, and Montgomery.

      92.    The discretionary parole process in Kansas provides no evidentiary

rules, no right to obtain expert assistance or testimony, no cross-examination, no

compulsory process, no right to the assistance of counsel, and cannot meet the

meaningful requirements under the constitution and enforce Miller’s concerns. See

KAR 45-200-1. In Kansas, for any inmate serving a life sentence, the parole process

occurs in two stages. The first stage is a report from the Secretary of Corrections

whether the inmate has satisfied his agreement. The vast majority of inmates are

denied at that point. And the inmate has no right to challenge the Secretary’s

unilateral determination.

      93.    The Prisoner Review Board is not required to provide any verbal or

written explanation of its decision, though it sometimes does so perfunctorily, as it

did to Mr. Makthepharak.
      94.    Moreover, Prisoner Review Board practices penalize Mr.

Makthepharak and others similarly situated by relying on risk assessment tools

that assess the individual as if frozen in time upon their arrival to the DOC rather

than who he or she is at the time of assessment. These tools take no account of Mr.

Makthepharak’s maturation over time, accomplishments, or institutional record.

Rather, they penalize those whose were youth on arrival to the DOC by assessing

them as they were when they were most risky and too young to have developed

factors that the tools deem “protective” against recidivism. By utilizing these tools,
the Prisoner Review Board virtually ensures Mr. Makthepharak will demonstrate a


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moderate to high level of risk even when he is thoroughly rehabilitated and

presents little or no risk.

         95.   The Prisoner Review Board takes the position that its

recommendations and communications with the Secretary of Corrections are

privileged, regardless of whether they are recommendations for parole or

commutation.

         3. DOC policies automatically deny Mr. Makthepharak, as well as
            those similarly situated, rehabilitative opportunities that affect
            his opportunity for release.
         96.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         97.   The Secretary of Corrections has adopted policies that bar those

serving life sentences from moving below medium-high security status regardless of

the individual’s institutional record. The Secretary of Corrections further has

adopted policies that categorically bar those serving life sentences, including

juveniles, from eligibility for work release and community corrections.

         98.   In the DOC, security classifications determine virtually all aspects of

an individual’s conditions of confinement. An individual’s security classification

determines in which institutions he or she may be housed, the level of restriction
upon his or her freedom of movement, and all aspects of programmatic eligibility,

including access to treatment, training, and employment.

         99.   The Secretary of Corrections has promulgated a regulation that an

inmate’s security classification is determined by the Security Classification Manual.

KAR 44-5-104. The Security Classification Manual is available online on the DOC’s

website. See https://www.doc.ks.gov/publications/kdoc-facilities-

management/custody_manual.




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      100.   From lowest to highest, the DOC’s security classification levels are

Minimum, Medium Low, Medium High, and Maximum. The classification scheme

is a score-based system that assigns and increases points based on certain factors to

determine at which security level an individual may be safely assigned. To carry

out this scheme, the DOC assesses an inmate’s score and then periodically

reassesses it.

      101.   Under the Security Classification Manual, a juvenile with prior

convictions convicted of murder and sentenced to life will always score no less than

12, meaning he will never be able to move below medium high.

      102.   Yet, because of their differences from adults, juveniles arrive at the

DOC more susceptible to being assaulted and preyed upon, and with greater need

for supportive programming and for opportunities that will enable them to be

rehabilitated. Categorically assigning Mr. Makthepharak and those serving life

sentences to no lower than medium high security, and barring them from any

further progression through the DOC system regardless of any individualized

determination or merit, unlawfully denies them a core component of a meaningful

and realistic opportunity for release.

      103.   As noted above, the DOC’s security classification assessment
automatically scores juveniles serving life sentences higher by virtue of their

mandatory life sentences and the nature of their offenses. The same is true for the

re-classification assessment. No matter how Mr. Makthepharak scores on the

assessment, he is categorically barred from moving below medium high security

regardless of his record of accomplishment. In this way, the DOC’s scheme

reinforces the inability to attain opportunities for release for juveniles serving life

sentences.

      104.   Because virtually every aspect of programming is determined by an
individual’s classification level, the prohibition against movement below medium


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high security prevents Mr. Makthepharak from progressing through the DOC and

properly demonstrating his maturity and rehabilitation regardless of individual

merit. Similarly, he is severely limited in his ability to demonstrate rehabilitation

through the gradual earning of additional privileges and the ability to demonstrate

success in lower security settings.

   IV. Mr. Makthepharak’s rights have been violated and he suffers grave
      harms as a result of Kansas’s system of de facto life without parole.
         105.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         106.   As a result of the policies and practices of Defendants, and illustrated

by their refusal to recommend parole simply because of factors associated with Mr.

Makthepharak’s convicted offense, principally that he did not take responsibility for

the offense, Mr. Makthepharak has been and consistently will be denied any

meaningful and realistic opportunity to obtain release based on demonstrated

maturity and rehabilitation.

         107.   Mr. Makthepharak, as well as every inmate within the DOC in his

position, has come to regard parole proceedings as futile and meaningless, and the

idea of parole as completely illusory. No matter how well he may behave, how
consistently he may demonstrate his trustworthiness, or how much he matures, he

can never progress below medium high security to lesser classifications that will

allow him to demonstrate further his readiness for release.

         108.   Similarly, the risk assessment tools penalize Mr. Makthepharak and

others similarly situated for their youthfulness at the time of their offense and

totally fail to consider their institutional history and record of accomplishment since

incarceration.




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      109.   As such, Mr. Makthepharak has suffered, and continues to suffer,

violation of his rights under the Eighth Amendment and § 9 of the Kansas Bill of

Rights.

      110.   Mr. Makthepharak was a juvenile at the time the offenses were

committed and was sentenced to imprisonment for life, where this sentence

guarantees death behind bars for crimes committed as a child under Kansas’s

mandatory sentencing scheme and without adequate consideration of his youth

status, for his role in a murder that occurred when he was 16 years old, and decades

later is being deprived of a meaningful and realistic opportunity for release based

on demonstrated maturity and rehabilitation, in contravention of his federal

constitutional rights.

      111.   Mr. Makthepharak is now 38 years old. He has spent 22 years, more

than half of his lifetime, incarcerated for these offenses.

      112.   Mr. Makthepharak was sentenced to life in prison under Kansas’s

mandatory sentencing scheme for felony murder. Nothing in Mr. Makthepharak’s

record suggests, nor was any finding ever made, that his crime reflected that he was

among the “rarest juvenile[s] whose crime reflects permanent incorrigibility.”

      113.   At his parole consideration date, the Prisoner Review Board denied
Mr. Makthepharak at the outset, based on his failure to take responsibility for the

offense. It is unknown what the Secretary’s position was, but on information and

belief it was – and always will be – that Mr. Makthepharak has not satisfactorily

completed his illusory and changeable “agreement.”

      114.   When Mr. Makthepharak first arrived in the DOC, because he was

serving a life sentence, and because of his young age, he was automatically

designated as “maximum” security despite his youth. Mr. Makthepharak is

categorically prohibited from moving below medium high security.




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         115.   Mr. Makthepharak has been denied, continues to be denied, and unless

remedied by this Court will continue to be denied, a meaningful and realistic

opportunity for release, in that: (1) he is unable to move below medium high

security regardless of his institutional record, and thus he is barred from developing

skills that allow him to demonstrate his rehabilitation; (2) he is denied any

explanation for what additional steps he must take to be recommended for parole;

(3) he has been discriminated against with respect to his opportunities for

rehabilitation and release by Defendants’ use of risk assessment tools that hold his

youth at the time of offense against him; (4) he is subjected to a parole system that

operates no differently than a system of executive clemency; and (5) he is subjected

to parole practices that penalize him for his offense, as well as for his young age at

the time of his offense.

                                   Causes of Action

                                      Count One:
Violation of the Eighth Amendment’s prohibition against cruel and
unusual punishment and 42 U.S.C. § 1983
                       (Mr. Makthepharak against all Defendants)

         116.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         117.   The Eighth Amendment forbids a statutory scheme that mandates life

imprisonment for juveniles or permits life sentences for juveniles in non-homicide

cases without adequate regard for their status as minors, and then denies them a

meaningful opportunity for release upon demonstrated maturity and rehabilitation.

A meaningful opportunity for release includes the opportunity to demonstrate

rehabilitation.

         118.   Defendants operate a parole scheme that is indistinguishable from a
system of ad hoc executive clemency in which grants of release are exceptionally



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rare, are governed by no substantive or enforceable standards, and are masked from

view by the public and the inmate whose liberty is at stake.

         119.   Kansas’s illusory parole system, in which Mr. Makthepharak’s life

sentence is de facto without parole, as applied to Mr. Makthepharak, has not

afforded him a meaningful and realistic opportunity for release, in violation of the

Eighth Amendment.

         120.   Moreover, the Prisoner Review Board’s application here of risk

assessment tools that discriminate against youth has denied Mr. Makthepharak a

meaningful and realistic opportunity for release upon a showing of rehabilitation, in

violation of the Eighth Amendment.

         121.   The DOC’s practice of automatically classifying all those in Mr.

Makthepharak’s position sentenced to life as juveniles as no lower than medium

high security denies Mr. Makthepharak critical rehabilitative opportunities that are

essential to his ability to demonstrate maturity and rehabilitation.

         122.   Mr. Makthepharak has been injured by Defendants’ policies and

practices by being denied his right to a meaningful opportunity for release from

imprisonment notwithstanding his youth at the time of his offense and despite his

demonstration of rehabilitation, in violation of the Eighth Amendment, giving rise
to his claims for relief under 42 U.S.C. § 1983.

                                       Count Two
Violation of Section 9 of the Kansas Bill of Rights’ prohibition against
cruel or unusual punishment
                       (Mr. Makthepharak Against all Defendants)

         123.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         124.   Section 9 of the Kansas Bill of Rights forbids a system that mandates
life imprisonment for juveniles without adequate regard for their status as minors,



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and then denies them a realistic and meaningful opportunity for release. A

meaningful opportunity for release includes the opportunity to demonstrate

maturity and rehabilitation.

      125.   Defendants operate a parole scheme that is indistinguishable from a

system of ad hoc executive clemency in which grants of release are exceptionally

rare, are governed by no substantive or enforceable standards, and are masked from

view by the public and the inmate whose liberty is at stake.

      126.   Moreover, the Prisoner Review Board’s application here of risk

assessment tools that discriminate against youth has denied Mr. Makthepharak a

meaningful and realistic opportunity for release upon a showing of rehabilitation, in

violation of Section 9 of the Kansas Bill of Rights.

      127.   Moreover, the Prisoner Review Board’s application here of risk

assessment tools that discriminate against youth has denied Mr. Makthepharak a

meaningful and realistic opportunity for release upon a showing of rehabilitation, in

violation of Section 9 of the Kansas Bill of Rights.

      128.   The DOC’s practice of automatically classifying all those in Mr.

Makthepharak’s position sentenced to life as juveniles as no lower than medium

high security denies Mr. Makthepharak critical rehabilitative opportunities that are
essential to his ability to demonstrate maturity and rehabilitation.

      129.   Mr. Makthepharak has been injured by Defendants’ policies and

practices by being denied his right to a meaningful opportunity for release from

imprisonment notwithstanding his youth at the time of his offense and despite his

demonstration of maturity and rehabilitation, in violation of the Eighth

Amendment and Section 9 of the Kansas Bill of Rights.




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                                      Count Three
For declaratory judgment that K.S.A. §§ 22-3717(g)-(h) and 75-5210a are
unconstitutional as applied to Mr. Makthepharak
                       (Mr. Makthepharak Against all Defendants)

         130.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         131.   The Eighth Amendment requires youth status to be considered and a

finding of “irreparable corruption” before juveniles may be sentenced to life without

a meaningful opportunity for release.

         132.   K.S.A. §§ 22-3717(g)-(h) and 75-5210a violate the prohibition against

cruel and unusual punishment under the Eighth Amendment and § 9 of the Kansas

Bill of Rights because they mandate what the Secretary of Corrections and the

Prisoner Review Board consider in order to parole individuals sentenced to life

irrespective of any consideration of the youth status of the offender.

         133.   Mr. Makthepharak has been injured by parole consideration under

these statutes by being denied adequate consideration of his youth before being

denied parole without a meaningful and realistic opportunity for release upon his

demonstrated maturity and rehabilitation, in violation of the Eighth Amendment

and Section 9 of the Kansas Bill of Rights.

                                   Prayer for Relief

         WHEREFORE, Mr. Makthepharak requests the Court to:

         (1) Declare under 28 U.S.C. §§ 2201-2202 that Defendants have operated, and

continue to operate, a parole scheme that denies individuals, such as Mr.

Makthepharak, who are serving parole-eligible life sentences for offenses committed

as a juvenile, a meaningful and realistic opportunity for release, in violation of the

prohibition against cruel and unusual punishment in the Eighth Amendment to the




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Constitution of the United States and the prohibition against cruel or unusual

punishment in § 9 of the Kansas Bill of Rights;

      (2) Declare under 28 U.S.C. §§ 2201-2202 that Mr. Makthepharak is serving

a de facto LWOP sentence under which he has not been afforded any meaningful or

realistic opportunity for release, in violation of the prohibitions against cruel and

unusual punishment in the Eighth Amendment and § 9 of the Kansas Bill of Rights;

      (3) Declare under 28 U.S.C. §§ 2201-2202 that K.S.A. § 75-5210a, which

grants the Secretary of Corrections the exclusive authority to fashion the conditions

of parole-ability for an inmate serving a parole-eligible life sentence, is

unconstitutional as applied to individuals, including Mr. Makthepharak, who were

juveniles at the time of their offenses;

      (4) Declare under 28 U.S.C. §§ 2201-2202 that K.S.A. § 22-3717(g)-(h),

precluding the Parole Review Board from granting parole to an inmate serving a

parole-eligible life sentence without the approval of the Secretary of Corrections,

and setting the further factors the Parole Review Board should consider, is

unconstitutional as applied to individuals, including Mr. Makthepharak, who were

juveniles at the time of their offenses;

      (5) Declare under 28 U.S.C. §§ 2201-2202 that Defendants’ reliance on risk
assessment tools that discriminate against those who were juveniles at the time of

their offense to assess opportunities for release has denied Mr. Makthepharak a

meaningful and realistic opportunity for release upon a showing of rehabilitation, in

violation of the Eighth Amendment and § 9 of the Kansas Bill of Rights;

      (6) Declare under 28 U.S.C. §§ 2201-2202 that Defendants have denied Mr.

Makthepharak and those similarly situated, a meaningful and realistic opportunity

for release by denying him access to critical rehabilitative opportunities through

policies and practices automatically classifying him as no lower than medium high
security and prohibiting him from progressing to security levels below medium high


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regardless of individual merit, in violation of the prohibitions against cruel and

unusual punishment in the Eighth Amendment and § 9 of the Kansas Bill of Rights;

       (7) Enjoin Defendants immediately to discontinue these practices and to take

remedial steps to address their past illegal conduct, by granting Mr. Makthepharak,

and those similarly situated, a meaningful and realistic opportunity to demonstrate

his readiness for release, including fashioning what Defendants must meet in order

to do so, which includes but is not limited to:

   •   Ending the Secretary of Corrections’ unilateral determination of the

       conditions of parole-ability for an inmate sentenced as a juvenile to a parole-

       eligible life sentence;

   •   Requiring the Parole Review Board to disclose to the inmate all evidence to

       be considered before a parole hearing;

   •   Requiring the Parole Review Board to provide the inmate an opportunity to

       be heard and present evidence in support of release;

   •   Requiring the Parole Review Board to provide the inmate a right to hear and

       confront adverse witnesses as necessary;

   •   Requiring the Parole Review Board to make a recording of every parole

       interview for the purposes of administrative and judicial review;
   •   Requiring the Parole Review Board to prepare a written decision that is

       comprehensible and sufficiently detailed for a reviewing court to evaluate;

   •   Requiring the Secretary of Corrections and the Parole Review Board to focus

       their parole inquiry as to these inmates on rehabilitation rather than the

       crime severity or older institutional disciplinary history, make the mitigation

       of youth central to the parole interview and decision, and create a

       presumption of relief for inmates sentenced as juveniles to parole-eligible life

       sentences;




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   •   Requiring the Governor, the Secretary of Corrections and the Parole Review

       Board to institute a meaningful administrative and judicial process to review

       decisions of the Parole Review Board;

       (8) Award Mr. Makthepharak his costs, expenses, and attorney fees under 28

U.S.C. § 1988; and

       (9) Grant such other and further relief as the Court may deem just and

proper.
                                                Respectfully submitted,
                                                Jonathan Sternberg, Attorney, P.C.
                                               by /s/Jonathan Sternberg
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                                                COUNSEL FOR PLAINTIFF
Certificate of Service
       I certify that on April 12, 2023, I mailed a true and accurate copy of the
foregoing to each of the following defendants:
       Hon. Laura Kelly, Governor                Mr. Jeff Zmuda,
       Kansas State Capitol                         Secretary of Corrections
       300 SW 10th Avenue, Suite 241S            Kansas Department of Corrections
       Topeka, Kansas 66612                      714 Southwest Jackson, Suite 300
                                                 Topeka, Kansas 66603
       Mr. Jonathan Ogletree,                    Ms. Jeannie Wark,
          Chair, Prisoner Review Board              Member, Prisoner Review Board
       Kansas Department of Corrections          Kansas Department of Corrections
       714 Southwest Jackson, Suite 300          714 Southwest Jackson, Suite 300
       Topeka, Kansas 66603                      Topeka, Kansas 66603
       Mr. Mark Keating,
          Member, Prisoner Review Board
       Kansas Department of Corrections
       714 Southwest Jackson, Suite 300                         /s/Jonathan Sternberg
       Topeka, Kansas 66603                                                  Attorney


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